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 UNITED STATES DISTRICT COURT
 DISTRICT OF NEW JERSEY
 - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -- - - x
 CYNTHIA GAMBLE, individually and as executrix :
 of the Estate of David Gamble,                                           :
                                                                          :
                                          Plaintiff,                      : Civil Action No. 2:15-cv-08167-CCC-LDW
                                                                          :
           vs.                                                            : MOTION DATE: February 16, 2016
                                                                          :
 PILATUS AIRCRAFT LTD., PILATUS BUSINESS :
 AIRCRAFT, LTD., PILATUS FLUGZEUGWEKE :
 AKTIENGESELLSCHAFT, HONEYWELL, INC., :
 HONEYWELL INTERNATIONAL, INC., REVUE :
 THOMMEN AG, THOMMEN AMERICA, LLC, :
 EMCA, GOODRICH AVIONICS SYSTEMS, INC., :
 L-3 COMMUNICATIONS CORPORATION,                                          :
 GOODRICH CORPORATION, and JOHN DOES :
 1-10,                                                                    :
                                                                          :
                                          Defendants.                     :
 - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -- - - x




  MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS PILATUS AIRCRAFT,
    LTD. AND PILATUS BUSINESS AIRCRAFT, LTD.’S JOINT OPPOSITION TO
 PLAINTIFF’S COMBINED MOTION TO DISMISS CLAIMS AGAINST PILATUS AND
  THOMMEN DFENDANTS AND MOTION TO REMAND ALL REMAINING CLAIMS
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        Defendants Pilatus Aircraft, Ltd. (“Pilatus”) and Pilatus Business Aircraft, Ltd.

 (“PilBAL”) (hereinafter collectively the “Defendants”) respectfully submit this memorandum of

 law in opposition to Plaintiff’s motion to dismiss her claims against Defendants and remand all

 remaining claims to state court.

                                    PRELIMINARY STATEMENT

        Plaintiff’s motion, and the issues it raises, demonstrate how forum shopping can backfire.

 When Plaintiff originally filed this action in New Jersey state court, as well as a parallel action in

 Colorado state court against the same defendants seeking the same relief, it was clear that she

 preferred to pursue her remedy in New Jersey and avoid adverse law in Colorado. The reason

 that the New Jersey case initially remained in state court was the presence of Honeywell, Inc., a

 forum defendant. After several defendants filed motions to dismiss based on the lack of personal

 jurisdiction in New Jersey, Plaintiff sought to pursue jurisdictional discovery from these

 defendants as part of the effort to proceed in New Jersey state court. However, after Plaintiff

 settled with Honeywell, the action became removable to this Court on diversity of citizenship

 grounds. Plaintiff had not anticipated the removal to this Court.

        Realizing that the remaining defendants can move to transfer this case to the Middle

 District of North Carolina, Plaintiff now is asking this court to voluntarily dismiss her claims in

 New Jersey and allow her to pursue her claims in the parallel Colorado lawsuit. In an effort to

 disguise her true motive, Plaintiff states that the New Jersey action should be dismissed because

 it “would not make sense to begin this lawsuit anew in a different New Jersey forum against two

 defendants who object to personal jurisdiction in New Jersey.” See Plaintiff’s Brief at p. 5 [Dkt.

 No. 5]. This is not the real motive behind Plaintiff’s motion.




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          Unexpectedly faced with the very real prospect that this action will be transferred to the

 Middle District of North Carolina,1 Plaintiff seeks to abandon her chosen forum and proceed in

 Colorado. The procedural conundrum in which Plaintiff finds herself is entirely of her own

 making. To be clear, this action was properly removed to this court pursuant to 28 U.S.C.

 §1446(b), and subject matter jurisdiction exists in federal court. Dismissing Plaintiff’s claim

 now would substantially prejudice the remaining defendants because it would allow Plaintiff to

 avoid the transfer of this action to the appropriate forum in North Carolina. The defendants

 respectfully request that the court deny Plaintiff’s motion and grant Defendants’ motion to

 transfer, which is being filed contemporaneously with this opposition.

 I.       BACKGROUND

          On January 16, 2015, Plaintiff commenced this action in the Superior Court of New

 Jersey Law Division, Morris County against Defendants2 seeking wrongful death damages

 arising from the crash of a Pilatus PC-12 aircraft in North Carolina on January 16, 2013, which

 resulted in the death of Plaintiff’s husband, David Gamble. See Pl.’s Compl at ¶ 1, attached to

 the Declaration of David J. Harrington, Esq. (hereinafter “Harrington Decl.”), dated February 1,

 2016 as Exhibit A. From the outset, Defendants notified Plaintiff that they were not subject to



 1
   This action should be transferred to the Middle District of North Carolina, which is the forum where Plaintiff
 resides, where a majority of the damages and liability-related witnesses and evidentiary documents are located, and
 the location with the greatest interest in adjudicating Plaintiff’s claims. In their Joint Motion to Transfer Venue to
 the Middle District of North Carolina, which was filed simultaneously with this Opposition, Defendants set out in
 greater detail why North Carolina is a more appropriate forum than New Jersey.
 2
   Plaintiff originally commenced this action on December 3, 2014 naming only Honeywell, Inc., Honeywell
 International, Inc., PilBAL and John Does 1-10 as defendants. On January 16, 2015, Plaintiff amended the
 Complaint to include new allegations against six additional defendants, including Pilatus and PilBAL: Revue
 Thommen AG, Thommen American LLC, EMCA, Goodrich Avionics Systems, Inc., L-3 Communications
 Corporation and Goodrich Corporation. Each of the other defendants have settled their claims with Plaintiff and are
 no longer defendants in this action.


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 personal jurisdiction in New Jersey, however, Plaintiff insisted on litigating this action in New

 Jersey, despite the fact that an identical action is pending in Colorado – a district where

 Defendants did not contest jurisdiction.

        A.      Plaintiff’s Pursuit of this Action in State Court

        For four months after Defendants answered the Complaint, the parties engaged in

 jurisdictional discovery in which Defendants expended significant time and resources producing

 documents and drafting motions in an attempt to obtain a dismissal of the New Jersey action.

 During and after jurisdictional discovery, when it became clear to Plaintiff that New Jersey was

 not the proper forum, Plaintiff could have sought a voluntary dismissal, but she chose not to.

 Instead, Plaintiff served deposition notices in an effort to depose Defendants’ employees in

 Colorado and Switzerland. Plaintiff refused to withdraw the notices of deposition and forced

 Defendants to spend time and money on additional motion practice.

        B.      Plaintiff’s Settlement with Honeywell and Defendants’ Subsequent Removal

        While Defendants’ motions were pending before the state court, Plaintiff reached an

 agreement to settle her claims against the other defendants in this action, including Honeywell,

 Inc. In an October 29, 2015 letter to the state court judge, counsel stated that “Plaintiff has

 reached an agreement to settle her claims with the Honeywell defendants.”        Id. at Exhibit B.

 Plaintiff also confirmed that Honeywell’s Motion to Dismiss, which was pending before the state

 court, “[did] not need to be heard in light of this settlement.” Id. On November 13, 2015, during

 an oral argument in state court, Plaintiff’s counsel confirmed the settlement with Honeywell, by

 stating on the record that Honeywell is “another party to this case that [Plaintiff] settled with.”

 Id. at Exhibit C.



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 II.     ANALYSIS

         The first issue for the Court to consider is whether this action was properly removed by

 the Defendants. After the Court determines that it has jurisdiction, it can turn to Plaintiff’s

 motion for a voluntarily dismissal pursuant to Rule 41(a)(2).

         A. Defendants’ Removal was Proper Because Plaintiff’s October 29, 2015 Letter to
            Superior Court Judge Ironson Triggered the Removal Period Under § 1446(b)

         Pursuant to 28 U.S.C. § 1446(b), removal is appropriate “within thirty days after receipt

 by the defendant, through service or otherwise, of a copy of an amended pleading, motion, order

 or other paper from which it may first be ascertained that the case is one which is or has become

 removable” (emphasis added). Plaintiff argues that removal to this Court was not proper because

 Honeywell still is technically a defendant in this action, even though Plaintiff’s counsel sent a

 letter to Morris County Superior Court Judge Ironson on October 29, 2015, to notify the court

 that “Plaintiff has reached an agreement to settle her claims with the Honeywell defendants.” See

 Harrington Decl. at Exhibit B. Plaintiffs counsel’s letter also stated that Honeywell’s Motion to

 Dismiss, which was then pending in state court, “will not need to be argued.” Id. Plaintiff’s

 counsel concludes the letter by stating that Honeywell agreed that “the Motion does not need to

 be heard in light of the settlement.” Id. Furthermore, on November 13, 2015, Plaintiff’s counsel

 stated during oral argument in state court that Honeywell is “another party to this case that

 [Plaintiff] settled with.” Id. at Exhibit C.

         Despite Plaintiff’s argument that the October 29, 2015 letter is not “clear and certain”

 that a settlement has been finalized, there can be no doubt that the letter, and the subsequent

 representation to the state court, shows that a settlement with Honeywell had been reached and

 that no further litigation was contemplated by either party.
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        In order for some “other paper”, such as the October 29 letter, to trigger the 30-day

 removal period under § 1446(b), the correspondence must be “the result of a voluntary act of the

 plaintiff which effects a change rendering a case subject to removal by defendant which had not

 been removable before the change.” Costa v. Verizon New Jersey, Inc., 936 F. Supp.2d 455, 465

 (D.N.J. 2013); see also Efford v. Milam, 368 F. Supp.2d 380, 385 (E.D.Pa. 2005). As courts in

 this Circuit have held, a “change rendering a case subject to removal” would be an act by the

 plaintiff that shows the plaintiff’s intent to “discontinue his claims against the defendant whose

 presence prevents removal.” See Lesher by Lesher v. Andreozzi, 647 F. Supp. 920, 921 (M.D.Pa

 1986). It is not required that the party be formally dismissed from the action, and it also not

 required that the terms of the settlement agreement be finalized. All that is required to trigger the

 30-day removal period under §1446(b) is a showing of the plaintiff’s intention to discontinue the

 action against the forum defendant. See id. at 922 (“‘The technicality of how plaintiff’s intention

 is expressed is of no moment – it is the expression of the intent by plaintiff which makes the case

 removable.’”) (citation omitted); see also In re Diet Drugs, MDL No. 1203, 1999 WL 106887 at

 *2 (E.D.Pa. March 2, 1999) (citing cases in which courts have held that an agreement to settle an

 action, even where the terms of the release are not finalized, is sufficient to trigger the 30-day

 removal period); Hessler v. Armstrong World Indus., Inc., 684 F. Supp. 393, 394 (D.Del. 1988)

 (holding that a plaintiff’s letter notifying defendants that the forum defendants had settled was

 sufficient to trigger the 30-day removal period).

        Plaintiffs counsel’s subsequent representations to the state court that Plaintiff’s claims

 against Honeywell were settled is further support that this action was removable. Where the

 plaintiff makes a representation to the court on the record that an action has been settled, the

 requirement to trigger removal has been satisfied. See Hessler, 684 F. Supp. at 395 (holding that

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 the defendants “had received adequate notice, both by letters and by statements made in the

 Superior Court [ . . . ] that the requisites of removability were present”).

        Here, Plaintiff claims that Honeywell technically is still a defendant because she did not

 finalize the terms of her release with Honeywell. However, Plaintiff’s argument ignores the fact

 that Plaintiff voluntarily acted by sending a letter to the state court to notify the court of the

 settlement with Honeywell. This same letter clearly shows Plaintiff’s intention to discontinue

 the case against Honeywell because it notified the state court that Honeywell’s dispositive

 motion was moot as a result of the settlement. See Harrington Decl. at Exhibit B.          Plaintiff’s

 counsel also followed up on the October 29, 2015 letter by stating on the record during an oral

 argument that Honeywell settled with Plaintiff. Id. at Exhibit C. In a desperate attempt to keep

 this action out of federal court, Plaintiff ignores the case law in this Circuit that holds that these

 actions by Plaintiff’s counsel are sufficient to trigger the 30-day removal period and the terms of

 a settlement need not be finalized, because the letter and representations to the court are evidence

 of Plaintiff’s intent to dismiss Honeywell from the action. See In re Diet Drugs, 1999 WL

 106887 at *2; see also Rowe v. Johns-Manville, No. 86-6044, 1986 WL 12266 at *2 (E.D.Pa.

 June 9, 1987) (stating that “the unequivocal indication of plaintiff’s abandonment of its action

 against settling defendants is sufficient” to indicate dismissal).

        No dispute exists that there is complete diversity between Plaintiff and the remaining

 Pilatus Defendants and that the amount in controversy exceeds $75,000.          As discussed above,

 Plaintiff has settled her claims against Honeywell, the forum defendant that prevented removal

 when the action was first filed in New Jersey state court.           This Court has subject-matter

 jurisdiction over this case and Defendants’ removal to federal court was proper under 28 U.S.C.

 §§ 1332, 1441, and 1446. Therefore, Plaintiffs motion to remand should be denied.

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        B.      Defendants Would Be Prejudiced if Plaintiff is Permitted to Voluntarily
                Dismiss the Action Before it is Transferred to the Correct Forum Court

        A motion to voluntarily dismiss an action by a plaintiff pursuant to F.R.C.P. 41(a)(2)

 should be denied if dismissing the action would cause the defendant to suffer prejudice. See

 Paoli R.R. Yard PCB Litigation, 916 F.2d 829, 863 (3d Cir. 1990) (stating that Rule 41(a)(2)

 motions “‘should be allowed unless defendant will suffer some prejudice other than the mere

 prospect of a second lawsuit’”) (citation omitted); see also Johnston Development Group, Inc. v.

 Carpenters Local Union No. 1578, 728 F. Supp. 1142, 1146 (D.N.J. 1990) (“[A] motion for

 dismissal without prejudice ‘should not be denied absent substantial prejudice to the defendant’”)

 (citation omitted).   Courts in this district generally determine whether prejudice exists by

 considering: “(1) any excessive and duplicative expense of a second litigation; (2) the effort and

 expense incurred by a defendant in preparing for trial; (3) the extent to which the pending

 litigation has progressed; and (4) the claimant’s diligence in moving to dismiss.” Pappas v.

 Township of Galloway, 565 F. Supp.2d 581, 594 (D.N.J. 2008).

        If Plaintiff is permitted to voluntarily dismiss this action before Defendants motion to

 transfer is decided, Defendants would suffer undue prejudice. First, Defendants have already

 expended significant efforts and incurred significant expenses in the New Jersey state action.

 Despite knowing that Defendants were not contesting jurisdiction in the pending Colorado

 action, Plaintiff forced Defendants to litigate this action in the New Jersey state court, which

 required Defendants to expend substantial time and resources over the past year to produce

 documents related to Defendants’ business dealings and contacts with New Jersey, file motions

 to dismiss for lack of personal jurisdiction, prepare motions for protective orders to prevent

 depositions of Defendants’ corporate representatives, and appear in state court to argue its

 motions. Under similar circumstances, courts in this district have denied voluntary dismissal
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 because the case proceeded far enough that prejudice would result. See, e.g., Sporn v. Ocean

 Colony Condominium Ass’n, 173 F. Supp.2d. 244, 255 (D.N.J. 2001) (denying the plaintiff’s

 motion to voluntarily dismiss under 41(a)(2) where the “defendants have incurred substantial

 expense both in defending the merits of the case and in simply attempting to keep the case

 moving along towards resolution”); compare Pappas, 565 F. Supp.2d. at 594 (finding no

 prejudice in granting the plaintiff’s motion to dismiss because the action had been pending for

 only four months and the parties expended no resources on discovery). Now, faced with the

 prospect of having her case transferred to North Carolina, Plaintiffs wants this Court to waive its

 magic wand and make the action disappear.

          Similarly, Plaintiff’s motion to voluntarily dismiss this action was not filed until after she

 realized that the case was removable and subject to a motion transfer. Plaintiff had ample time

 and opportunity to seek a voluntary dismissal of this action while the litigation was active in the

 state court and she failed to do so. Plaintiff also had the opportunity to seek voluntary dismissal

 after the Defendants produced thousands of pages of discovery documents confirming their

 contention that they were not subject to jurisdiction in New Jersey. Despite having all of the

 same information available to her then that she does now, Plaintiff actively pursued discovery in

 state court. Now, 12 months after filing the action in New Jersey state court and 10 months after

 it was clear that Defendants were not contesting jurisdiction in Colorado, Plaintiff attempts to

 voluntarily dismiss this action. This is hardly an example of “diligence in bringing the motion to

 dismiss.” See Pl.’s Brief at p. 5; Citizens Sav. Ass’n v. Franciscus, 120 F.R.D. 22, 25 (M.D.Pa.

 1988).

          It is clear that what triggered Plaintiff’s change of heart in filing a motion to voluntarily

 dismiss is not a desire to avoid the duplicative costs of pursuing two parallel actions, but rather

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 Plaintiff’s realization that remaining in federal court could lead to the dismissal of her claims

 against Defendants with prejudice.       Now that this action is rightfully in federal court, the

 possibility of a transfer to the Middle District of North Carolina is imminent and, suddenly,

 Plaintiff no longer wishes to pursue her claims here. Plaintiff should not be able to obtain

 voluntary dismissal after choosing this forum for her initial action and forcing Defendants to

 expend time and resources litigating here, only for Plaintiff to suddenly decide (after the case

 was removed to federal court) that the better course is to pursue her litigation in Colorado. This

 Court should not condone Plaintiff’s costly and inefficient actions by rewarding her with a

 voluntary dismissal without prejudice.

        When a plaintiff has ample opportunity to seek voluntary dismissal and fails to do so, she

 should not be permitted to dismiss an action to avoid what she believes will be adverse result in

 an action. See Galasso v. Eisman, Zucker, Klein & Ruttenberg, 310 F. Supp.2d 569, 572

 (S.D.N.Y. 2004) (denying the plaintiff’s motion to voluntarily dismiss because plaintiff’s motive

 in seeking dismissal was to avoid an adverse decision). Plaintiff chose this forum and fought

 hard to keep this case here, she should not be permitted to seek a voluntary dismissal because she

 is worried about a potentially negative outcome of this action in a forum that she chose.

        Defendants, on the other hand, should be given the opportunity to litigate their claims in

 federal court, despite any potential adverse impact on Plaintiff’s claims. Dismissing this action

 would greatly prejudice the Defendants by denying them the ability to seek a dismissal with

 prejudice under North Carolina law. Plaintiff took a risk and continued her pursuit of the

 Defendants in New Jersey when she could have easily dismissed the New Jersey action long ago

 and pursued her claims in Colorado. Now that it appears that her gamble may not pay off, she

 requests that the Court wipe her bet off the table at the expense of Defendants’ ability to seek a

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 dismissal with prejudice in the Middle District of North Carolina. Accordingly, Plaintiff’s

 motion to dismiss should be denied.

 III.    CONCLUSION

         For the foregoing reasons, Defendants PILATUS AIRCRAFT, LTD. and PILATUS

 BUSINESS AIRCRAFT, LTD. respectfully request that this Court deny Plaintiff’s Motion To

 Dismiss Claims Against Pilatus and Thommen Defendants and Motion To Remand All

 Remaining Claims and Alternatively grant Defendants’ Joint Motion to transfer this action to the

 Middle District of North Carolina, the grounds for which are fully set forth in Defendants’

 Memorandum of Law, which was filed simultaneously with this Opposition.


 Dated: New York, New York
        February 1, 2016

                                                Respectfully submitted,

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